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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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     RONALD ANTHONY JONES,                       Case No.: CV 98-10318 JLS
12
                                                 DEATH PENALTY CASE
13                  Petitioner,
14   v.
15                                               JUDGMENT
16   RON BROOMFIELD, Acting Warden,
     California State Prison at San Quentin,
17
18                  Respondent.
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20
           Pursuant to Rule 54(b) of the Federal Rules of Civil Procedure, the court
21
     finds there is no reason for delaying the entry of final judgment with respect to the
22
23   claims adjudicated in the Court’s Order Re: Petition for Writ of Habeas Corpus

24   (“Order”). Accordingly, pursuant to the Court’s Order, IT IS ADJUDGED that:
25         1. Petitioner’s Petition for Writ of Habeas Corpus (Dkt. No. 37) is granted
26   with respect to Claim 4(1). The judgment of conviction in the matter of People v.
27   Jones, Case No. A578017, of the California Superior Court of Los Angeles
28


     JUDGMENT - 1
     Case 2:98-cv-10318-JLS Document 220 Filed 09/30/21 Page 2 of 2 Page ID #:39696




 1   County, is hereby vacated. The State of California shall, no later than 60 days after
 2   the entry of this Judgment, either release Petitioner or grant him a new trial.
 3         2. Respondent shall forthwith notify the Warden of San Quentin Prison of
 4   this Court’s Judgment.
 5         Date: September 30, 2021
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 7                                        ____
 8                                               JOSEPHINE L. STATON
                                             UNITED STATES DISTRICT JUDGE
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     JUDGMENT - 2
